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 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                            CASE NO. 1:16-CR-00054-DAD-BAM
11
                                  Plaintiff,              STIPULATION AND [PROPOSED] PROTECTIVE
12                                                        ORDER BETWEEN THE UNITED STATES AND
                            v.                            DEFENDANTS
13
     DELLA ORNELAS, and
14   RANDALL RUFF

15                                Defendants.

16

17          WHEREAS, the discovery in this case is expected to contain a large amount of proprietary,

18 personal and confidential information including, but not limited to, Social Security numbers, dates of

19 birth, telephone numbers, and residential addresses (“Protected Information”); and

20          WHEREAS, the parties desire to avoid both the necessity of large scale redactions and the

21 unauthorized disclosure or dissemination of this information to anyone not a party to the court

22 proceedings in this matter;

23          The parties agree that entry of a stipulated protective order is appropriate.

24          Therefore, Defendants DELLA ORNELAS and RANDALL RUFF, by and through their counsel

25 of record (“Defense Counsel”), and the United States of America, by and through Assistant United

26 States Attorney Mark J. McKeon, hereby agree and stipulate as follows:
27          1.     This Court may enter a protective order pursuant to Rule 16(d) of the Federal Rules of

28 Criminal Procedure, and its general supervisory authority.



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 1          2.      This Order pertains to all discovery provided to or made available to Defense Counsel as

 2 part of discovery in this case, and documents produced subsequent to the date of entry of this Order

 3 (hereafter, collectively known as the “discovery”).

 4          3.      By signing this Stipulation and Protective Order, Defense Counsel agrees not to share any

 5 documents that contain Protected Information with anyone other than Defense Counsel attorneys,

 6 designated defense investigators, and support staff. Defense Counsel may permit the Defendant to view

 7 unredacted documents in the presence of her attorney, defense investigators, and support staff. The

 8 parties agree that Defense Counsel, defense investigators, and support staff shall not allow the

 9 Defendant to copy or maintain copies of Protected Information contained in the discovery. The parties

10 agree that Defense Counsel, defense investigators, and support staff may provide the Defendant with

11 copies of documents from which Protected Information has been redacted.

12          4.      The discovery and information therein may be used only in connection with the litigation

13 of this case and for no other purpose. The discovery is now and will forever remain the property of the

14 United States of America (“Government”). Defense Counsel will return the discovery to the

15 Government or certify that it has been destroyed at the conclusion of the case.

16          5.      Defense Counsel will store the discovery in a secure place and will use reasonable care to

17 ensure that it is not disclosed to third persons in violation of this agreement.

18          6.      Defense Counsel shall be responsible for advising the Defendant, employees, and other

19 members of the defense team, and defense witnesses of the contents of this Stipulation and Order.

20          7.      In the event that Defendant substitutes counsel, undersigned Defense Counsel agrees to

21 withhold discovery from new counsel unless and until substituted counsel agrees also to be bound by

22 this Order.

23          IT IS SO STIPULATED.

24 Dated: April 20, 2016                                    BENJAMIN B. WAGNER
                                                            United States Attorney
25

26                                                    By: /s/ MARK J. McKEON
                                                          MARK J. McKEON
27                                                        Assistant United States Attorney
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 1 Dated: April 20, 2016                 By: /s/ John Alan Meyer
                                             JOHN ALAN MEYER
 2                                           Attorney for Defendant
                                             RANDALL RUFF
 3

 4 Dated: April 20 2016                  By: /s/ Megan Hopkins
                                             MEGAN HOPKINS
 5                                           Attorney for Defendant
                                             DELLA ORNELAS
 6

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 8 IT IS SO ORDERED.

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       Dated:   April 21, 2016                  /s/ Barbara A. McAuliffe      _
10                                         UNITED STATES MAGISTRATE JUDGE
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